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                                                                                                      If^
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA                           JWN t 8 2019
                                    Richmond Division
                                                                              CLbHK U.S. DISTRICT COURT
                                                                                    RICHMOND. VA

JUSTIN NEWCOMER,
et al.,

        Plaintiffs,

V.                                                    Civil Action No.        3:18-cv-194


WELLS FARGO BANK,       NATIONAL
ASSOCIATION,       et al..

        Defendants.


                                MEMORANDUM OPINION


        This matter is before the Court on the Newcomers'                         MOTION TO

REMAND     (ECF No.    10) .    For the following reasons,                  the motion is

GRANTED.


                                          BACKGROUND


        Plaintiffs Justin and Monica Newcomer filed this action in

state court in relation to a loan they secured from Wells Fargo

for a house.       ECF No.     1,       Exhibit No.    3 at 2.         In their complaint,

the     Newcomers     specify       a    certain      federal     regulation—38        C.F.R.

36.4346-that they allege Wells Fargo violated. Id. at 3. They claim

that Wells Fargo committed:                (1) actual fraud, arguing that a Wells

Fargo representative intentionally lied to them by telling them to

fall     behind on their loans             to   lower their loan payments,              which

resulted      in   negative     credit          reports;   (2)         constructive    fraud,

because of the facts stated in Count One;                        (3)    breach of Virginia
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